                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:91CR86

UNITED STATES OF AMERICA               )
                                       )
vs.                                    )
                                       )                            ORDER
CLYNTON JOHN CHASE            (2)      )
______________________________________ )

       This matter is before the court on its own motion to request an inquiry into status of
counsel for defendant Clynton John Chase.

        IT IS ORDERED that a hearing be held before a Magistrate Judge to determine whether
the defendant is indigent and requires the appointment of counsel from the Federal Defender’s
office.

       So ordered.
                                                 Signed: February 21, 2007




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